    Case: 1:15-cv-01840 Document #: 71 Filed: 09/13/16 Page 1 of 4 PageID #:237




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION
DEMETRIUS POUNCY, JR.,                  )
                                        )
      Plaintiff,                        )    Case No: 15-cv-1840
      v.                                )
                                        )    Judge Robert M. Dow, Jr.
CITY OF CHICAGO, et al.                 )
                                        )
      Defendants.                       )    JURY DEMANDED

                     JOINT STATEMENT PURSUANT TO L.R. 54.3(E)

     Plaintiff Demetrius Pouncy, Jr., by and through his attorney Mary J. Grieb of the Shiller

Preyar Law Offices, and Defendants Patrick Ford, Timothy O’Brien, and the City of Chicago, by

and through their attorneys of record, Assistant Corporation Counsel Melissa F. Gold and

Assistant Corporation Counsel Brendan T. Moore and pursuant to Local Rule 54.3(e), submit the

following joint statement relating to attorneys’ fees and nontaxable related costs:



(1) Total Fees and Related Nontaxable Expenses Claimed by the Moving Party

Attorney and Paralegal Fees
 Attorney              Total Hours                   Rate                   Total Fees
 Mary J. Grieb         234.4                         $350/hour              $82,040
 Brendan Shiller       14.8                          $550                   $8,140
 Monica Gonzalez       9                             $75                    $675
 (paralegal)
 Michelle Puente       0.9                           $75                    $67.50
 (paralegal)
 Yvonne O’Dell         3.3                           $75                    $247.50
 (paralegal)

Total Fees                                                                            $91,225.00
Total nontaxable expenses                                                             $2,202.40
Totals Fees and nontaxable costs requested:                                           $93,427.40


                                                 1
    Case: 1:15-cv-01840 Document #: 71 Filed: 09/13/16 Page 2 of 4 PageID #:238




(2) Total Amount of Fees and/or Related Nontaxable Expenses that the Respondent Deems
Should be Awarded

It is Defendants’ position that under the Prison Litigation Reform Act, found in 42 U.S.C. §
1997e(d)(2), the attorney’s fees award in this matter can be no greater than $22,501.50. As the
Seventh Circuit has made clear in Johnson v. Daley, 339 F.3d 582, 584 (7th Cir. 2003) and its
progeny, the maximum amount that a prisoner Plaintiff could receive is 150% of the judgment.
Apart from this hard cap on the sum that may be collected for fees, the PLRA also provides that
no award of attorney’s fees shall be based on an hourly rate greater than 150 percent of the
hourly rate established in 18 U.S.C. § 3006A for payment of court-appointed counsel, which
Plaintiff’s counsel is here.

Even without the application of the Prison Litigation Reform Act, Defendants maintain
objections to that nature of billing entries, time associated with billing entries, and associated
hourly rates.

Defendants contest Mary Grieb’s rate of $350/hour and Brendan Shiller’s rate of $550/hour.
Defendants assert that Mary Grieb’s rate should be $225/hour and Brendan Shiller’s rate should
be removed because he was not appointed in this matter or in the alternative reduced to
$385/hour based upon previously awarded fee in Cavada v. City of Chicago, No. 13 CV 1916,
2014 WL 4124273, at *4 (N.D. Ill. Aug. 18, 2014). Thus, if the Prison Litigation Reform Act
does not control and Defendants’ objections are sustained in full, Defendants would argue that
reasonable attorney’s fees in the above captioned matter can be no greater than $37,132.50.

In regards to related nontaxable expenses, Defendants have filed with the Court Objections to
Plaintiff’s Bill of Costs, specifically the request for reimbursement for printing and
exemplification in the amount of $234.00. (See Docket No. 70). Plaintiff’s above listed total
nontaxable expenses is now listed at $2,202.40. This amount is $986.70 more than Plaintiff’s Bill
of Costs filed on July 15, 2016 which had a listed total of $1,215.70. (See Docket No. 68).
Defendants therefore object to any claim for reimbursement as to the difference of $986.70.

(3) Description of Each Specific Dispute(s) remaining between the parties as to the fees or
expenses

       (a)     Whether the Prison Litigation Reform Act, found in 42 U.S.C. § 1997e(d)(2),
               controls the award of attorney’s fees in this matter.

       (b)     Defendants’ filed objections to Plaintiff’s Bill of Costs on July 29, 2016. (Docket
               No. 70).

       (c)     The reasonable hourly rate(s) for Mary Grieb and/or Brendan Shiller (if
               applicable), including whether or not the requested hourly rate(s) for Mary Grieb
               and/or Brendan Shiller (if he is even entitled to recover any fees) are reasonable in
               light of their experience, including their experience at the time the fees were
               incurred, and fees that they – or appropriate comparators – have been awarded or
               claimed in other cases.

                                                  2
    Case: 1:15-cv-01840 Document #: 71 Filed: 09/13/16 Page 3 of 4 PageID #:239



       (d)     Whether the time and nature of billings by Plaintiff’s Counsel is subject to
               objection, including but not limited to: vague, insufficient documentation,
               excessive, redundant, unnecessary, administrative or better suited for support staff,
               internal, and duplicative.

       (e)     Defendants object to any claim for reimbursement as to the difference in amount
               between Plaintiff’s Submitted Bill of Costs and the above listed total nontaxable
               expenses.


(4) A Statement Disclosing –

       (A) The motion for fees in this case will be based on a judgment. (Docket No. 66).

       (B) The respondent has not taken an appeal.


Respectfully submitted,

s/Mary J. Grieb
Mary J. Grieb
One of Plaintiff’s Attorneys
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                                                 3
    Case: 1:15-cv-01840 Document #: 71 Filed: 09/13/16 Page 4 of 4 PageID #:240




                                 CERTIFICATE OF SERVICE


I, Mary J. Grieb, hereby certify that a copy of the foregoing was served upon all opposing counsel

via the CM/ECF email system.




Respectfully submitted,

s/Mary J. Grieb
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                                                4
